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     FERNANDO LOPEZ-CUEVAS
7
8                                            UNITED STATES DISTRICT COURT
9                                           EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                           No. Cr. 2:02-cr-418 GEB
12                             Plaintiff,                STIPULATED MOTION AND [lodged] ORDER
                                                         TO REDUCE SENTENCE PURSUANT TO 18
13             v.                                        U.S.C. § 3582(c)(2)
14   FERNANDO LOPEZ-CUEVAS,                              RETROACTIVE DRUGS-MINUS-TWO
                                                         REDUCTION CASE
15                             Defendant
                                                         Judge: Honorable GARLAND E. BURRELL, JR.
16
17             Defendant, FERNANDO LOPEZ-CUEVAS, by and through his attorney, Hannah R.
18   Labaree, and plaintiff, UNITED STATES OF AMERICA, by and through its counsel, Assistant
19   U.S. Attorney Jason Hitt, hereby stipulate as follows:

20             1.         Pursuant to 18 U.S.C. § 3582(c)(2), this Court may reduce the term of

21   imprisonment in the case of a defendant who has been sentenced to a term of imprisonment

22   based on a sentencing range that has subsequently been lowered by the Sentencing Commission

23   pursuant to 28 U.S.C. § 994(o);

24             2.         On May 14, 2004, this Court sentenced Mr. Lopez-Cuevas to a term of 292

25   months imprisonment;

26             3.         His total offense level was 36, his criminal history category was V, and the

27   resulting guideline range was 292 to 365 months;

28

     Stipulation and Order Re: Sentence Reduction          1
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1              4.         The sentencing range applicable to Mr. Lopez-Cuevas was subsequently lowered
2    by the United States Sentencing Commission in Amendment 782, made retroactive on July 18,
3    2014, see 79 Fed. Reg. 44,973;
4              5.         Mr. Lopez-Cuevas’ total offense level has been reduced from 36 to 34, and his
5    amended guideline range is 235 to 293 months;
6              6.         Accordingly, the parties request the Court enter the order lodged herewith
7    reducing Mr. Lopez-Cuevas’ term of imprisonment to a term of 235 months.
8    Respectfully submitted,
9    Dated: January 12, 2016                            Dated: January 12, 2016
10   BENJAMIN B. WAGNER                                 HEATHER E. WILLIAMS
     United States Attorney                             Federal Defender
11
12    /s/ Jason Hitt                                    /s/ Hannah R. Labaree__
     JASON HITT                                         HANNAH R. LABAREE
13   Assistant U.S. Attorney                            Assistant Federal Defender
14   Attorney for Plaintiff                             Attorney for Defendant
     UNITED STATES OF AMERICA                           FERNANDO LOPEZ-CUEVAS
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     Stipulation and Order Re: Sentence Reduction          2
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1                                                   ORDER
2              This matter came before the Court on the stipulated motion of the defendant for reduction
3    of sentence pursuant to 18 U.S.C. § 3582(c)(2).
4              The parties agree, and the Court finds, that Mr. Lopez-Cuevas is entitled to the benefit
5    Amendment 782, which reduces the total offense level from 36 to 34, resulting in an amended
6    guideline range of 235 to 293 months.
7              IT IS HEREBY ORDERED that the term of imprisonment imposed in May 2004 is
8    reduced to a term of 235 months.
9              IT IS FURTHER ORDERED that all other terms and provisions of the original judgment
10   remain in effect. The clerk shall forthwith prepare an amended judgment reflecting the above
11   reduction in sentence, and shall serve certified copies of the amended judgment on the United
12   States Bureau of Prisons and the United States Probation Office.
13             Unless otherwise ordered, Mr. Lopez-Cuevas shall report to the United States Probation
14   Office within seventy-two hours after his release.
15   Dated: January 12, 2016
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     Stipulation and Order Re: Sentence Reduction       3
